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                            UNITED STATES DISTRICT COURT
10

11
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

12    DAVID LAWRENCE,                            ) Case No. CV 10-8686-DMG(JCGx)
13
                                                 )
                   Plaintiff,                    ) ORDER GRANTING STIPULATION
14
            vs.                                  ) OF DISMISSAL [14]
                                                 )
15
                                                 )
      NCO FINANCIAL SYSTEMS INC.
16                                               )
                                                 )
17                 Defendant.                    )
18                                               )
19
            Having considered the Stipulation of Dismissal by Plaintiff David Lawrence
20

21
      and Defendant NCO Financial Systems, Inc.
22          IT IS HEREBY ORDERED that the above-captioned action is dismissed
23
      without prejudice.
24

25    Dated: July 19, 2011
26
                                    _____________________________
27                                  HON. DOLLY M. GEE
28                                  UNITED STAES DISTRICT JUDGE

                                   Order on Stipulation of Dismissal

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